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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        FELLOWSHIP OF CHRISTIAN                   No. 22-15827
        ATHLETES, an Oklahoma
        corporation; FELLOWSHIP OF                  D.C. No.
        CHRISTIAN ATHLETES OF                     4:20-cv-02798-
        PIONEER HIGH SCHOOL, an                        HSG
        unincorporated association;
        CHARLOTTE KLARKE;
        ELIZABETH SINCLAIR,                          ORDER
                       Plaintiffs-Appellants,

         v.

        SAN JOSE UNIFIED SCHOOL
        DISTRICT BOARD OF
        EDUCATION; NANCY
        ALBARRAN, in her official and
        personal capacity; HERB ESPIRITU,
        in his official and personal capacity;
        PETER GLASSER, in his official and
        personal capacity; STEPHEN
        MCMAHON, in his official and
        personal capacity,
                         Defendants-Appellees.

                            Filed April 3, 2023
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        2        FELLOWSHIP OF CHRISTIAN ATHLETES V. SAN JOSE USD


            Before: Mary H. Murguia, Chief Judge, and Consuelo M.
             Callahan, Milan D. Smith, Jr., Sandra S. Ikuta, Mark J.
            Bennett, Eric D. Miller, Bridget S. Bade, Daniel A. Bress,
            Danielle J. Forrest, Patrick J. Bumatay and Jennifer Sung,
                                  Circuit Judges.

                                    Order;
                        Dissent by Chief Judge Murguia


                                  SUMMARY *


                                   Civil Rights

            A majority of judges voted to issue an injunction pending
        resolution of this appeal ordering Defendants-Appellees, the
        San Jose Unified School District Board of Education and
        certain individuals, to forthwith recognize student chapters
        affiliated with the Fellowship of Christian Athletes,
        including the Pioneer High School student chapter, as
        official “Associated Student Body” approved clubs.
           Chief Judge Murguia respectfully dissented from the
        grant of injunctive relief pending resolution of this appeal.




        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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              FELLOWSHIP OF CHRISTIAN ATHLETES V. SAN JOSE USD      3


                                  ORDER

            A majority of judges have voted to issue an injunction
        pending resolution of this appeal. Defendants-Appellees
        San Jose Unified School District Board of Education, Nancy
        Albarran, Herb Espiritu, Peter Glasser, and Stephen
        McMahon are hereby ordered forthwith to recognize student
        chapters affiliated with the Fellowship of Christian Athletes,
        including the Pioneer High School student chapter, as
        official “Associated Student Body” approved clubs.
            This injunction pending appeal is issued pursuant to Fed.
        R. App. P. 8 and Fed. R. Civ. P. 62(g) and shall remain in
        place until we issue an opinion on the merits of this appeal.


        MURGUIA, Chief Judge, dissenting:

           I respectfully dissent from the grant of injunctive relief
        pending resolution of this appeal.
